EXHIBIT X
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


VIRGINIA COALITION FOR IMMIGRANT
RIGHTS; LEAGUE OF WOMEN VOTERS
OF VIRGINIA; LEAGUE OF WOMEN
VOTERS OF VIRGINIA EDUCATION
FUND; AFRICAN COMMUNITIES
TOGETHER,

       Plaintiffs,
                                                        Case No. 1:24-cv-01178
               v.                                       Judge Patricia Tolliver Giles

SUSAN BEALS, in her official capacity as
Virginia Commissioner of Elections; JOHN
O’BANNON, in his official capacity as
Chairman of the State Board of Elections;
ROSALYN R. DANCE, in her official capacity
as Vice-Chairman of the State Board of
Elections; GEORGIA ALVIS-LONG, in her
official capacity as Secretary of the State Board
of Elections; DONALD W. MERRICKS and
MATTHEW WEINSTEIN, in their official
capacities as members of the State Board of
Elections; and JASON MIYARES, in his
official capacity as Virginia Attorney General,


               Defendants.


                             DECLARATION OF GIGI TRAORE

       Pursuant to 28 U.S.C. § 1746, I, Gigi Traore, declare as follows:

       1.      I am over 18 years of age and am competent to make this declaration.

       2.      I have personal knowledge of the matters stated herein and would testify to the

same if called as a witness in Court.




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       3.      I am the National Civic Engagement Director for African Communities Together

(“ACT”), a 501(c)(3) nonprofit corporation with its principal place of business located in New

York City, New York.

       4.      ACT is a national nonpartisan membership organization of African immigrants

fighting for civil rights, opportunity, and a better life for African immigrants and their families.

       5.      ACT works to encourage and support voter registration and voter participation

among eligible African immigrant voters. ACT’s support of voter access and participation is

central to its mission. ACT has committed, and continues to commit, significant resources to

providing voter education and assisting with all aspects of voting, including voter registration, in

Virginia’s African immigrant communities.

       6.      ACT has an annual operating budget of approximately $6 million and employs

forty full-time equivalent permanent staff, as well as numerous temporary staff who carry out the

organization’s programmatic work at the community level, including in Virginia.

       7.      ACT operates five regional offices, located in New York City, NY; Philadelphia,

PA; Washington, D.C.; Silver Spring, MD; and Arlington, VA. A significant proportion of the

programmatic work of the Washington, D.C., Silver Spring, and Arlington offices, including

their voter engagement programs, are focused on serving Virginia’s African immigrant

communities.

       8.      ACT has approximately 12,460 members nationally, approximately 1,079 of

whom reside in Virginia. Many of ACT’s members are naturalized citizens.

       9.      ACT’s membership contributes to the organization’s work in a variety of

important ways, including by serving on leadership committees, participating in trainings,




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contributing time to one or more issue-specific campaigns, and volunteering as part of

community-focused outreach and support programs, including voter engagement programs.

       10.     Based upon a review of internal, confidential membership information, ACT has

members in numerous localities throughout the Commonwealth of Virginia, with the majority of

ACT’s Virginia members residing in Northern Virginia, in particular in Arlington County and

the City of Alexandria.

       11.     ACT maintains its member records as confidential in an effort to ensure that its

rank-and-file members are not subjected to doxxing, harassment, intimidation, or other adverse

ramifications due to the exercise of their right to freedom of association with ACT and its

members, and to prevent the chilling effect that disclosure of its member lists would have on

members’ willingness to continue to be a member of the organization and to support the

organization’s mission and work, as well as on ACT’s ability to attract new members.

       12.     ACT operates a robust civic engagement program in Virginia, consisting of six

full-time temporary paid staff, including a lead organizer, three field organizers, and two phone-

bank leads, as well as ACT members who contribute on a volunteer basis.

       13.     The purpose of ACT’s non-partisan civic engagement program is to increase the

participation of African immigrants who are naturalized citizens, as well as their U.S.-born

children and family members, in the electoral process and in American civic life, where they

might be otherwise underrepresented due to barriers in limited English proficiency, access to

information, and experience with voting. This includes outreach to encourage participation in the

Census, voter registration, and non-partisan voter outreach to inform African immigrant citizens

of their rights and responsibilities and to encourage them to vote.




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       14.     Between 2022 and 2023, ACT implemented a Virginia voter engagement program

that reached approximately 24,000 African immigrant voters. In 2024, ACT has grown its

outreach program and has identified approximately 85,000 African immigrant voters in Virginia

whom it plans to contact and provide encouragement, support, and assistance in their

participation in the upcoming election.

       15.     ACT creates its voter contact lists by running the official list of registered voters

through a sophisticated algorithm designed to determine with a high degree of accuracy whether

a voter is a first- or second-generation African immigrant. ACT then uses this list to populate

individual lists for canvassers and phone-bankers.

       16.     ACT’s 2024 Virginia voter engagement project goal is to make at least four

attempts to contact each of the 85,000 African immigrant voters it has identified, including at

least two attempts by phone and two attempts at their door.

       17.     In response to Governor Youngkin’s Executive Order 35 and the Purge Program,

ACT has had to make significant changes to its Virginia voter engagement program, shifting its

focus from encouraging voter participation and turnout toward educating and assisting voters

with maintaining their voter registration and reassuring voters about the threat of referral to law

enforcement and criminal investigation and prosecution as laid out in Executive Order 35. That

shift will mean that ACT is unable to encourage voter participation and turnout to the same

degree that it would absent the Purge Program.

       18.     In response to Executive Order 35, ACT was forced to reimagine their civic

engagement strategy by developing and producing new public education materials for voters and

new resources and scripts for canvassers and phone-bankers. Additionally, ACT had to create

and provide additional training to paid staff and volunteers about the Purge Program, including



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how to help a voter determine whether they have been removed from the rolls by the Purge

Program and how to re-register if they have been removed, and answer questions from voters

about the Purge Program.

       19.     The internal response to Executive Order 35 has been considerable and has forced

ACT staff, both regional and national, to divert significant time away from supporting ACT’s

other core activities. Responding to Executive Order 35 has decreased ACT’s capacity to support

programs assisting African immigrants in adjusting their immigration status, including applying

to naturalize as U.S. citizens, and other critical programs and services related to immigration,

jobs, leadership development, and civic participation.

       20.     In this critical time before the 2024 presidential election, ACT staff has had to

change materials, provide new trainings, supplement scripts, and educate voters on an issue that

we did not expect before the Purge Program commenced. This has put a strain on our resources

and capacity to continue ongoing programs and support African immigrant communities in the

regions where our members live.

       21.     While ACT will continue to use its resources to counteract the Purge Program, it

will be unable to ensure that every member and constituent is protected from removal. Therefore,

the Purge Program will directly harm ACT’s goal of increasing voter turnout among eligible

voters in the African immigrant community in Virginia.

       22.     ACT’s naturalized citizen members continue to be harmed by the Purge Program,

in particular those who obtained a driver’s license before becoming a citizen. These members are

forced to constantly check their registration status to ensure that they have not been purged from

the voter rolls before the election, and it is likely that some of those members will be purged

from the rolls due to the Program.



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      23.    I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.



     Executed this 14th day of October, 2024, in Washington, D.C.



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                                    Gigi Traore
                                    National Civic Engagement Director
                                    African Communities Together




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